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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                   CASE NO. 1:12-cv-23368-XXXX

  SHELLY HILL,

         Plaintiff,

  v.

  ROSS DRESS FOR LESS, INC. d/b/a DD'S
  DISCOUNTS,

         Defendants.

       DEFENDANT'S MOTION FOR SUMMARY JUDGMENT AND INCORPORATED
                          MEMORANDUM OF LAW

         Defendant, ROSS DRESS FOR LESS, INC. d/b/a DD'S DISCOUNTS (hereinafter

  Defendant or "ROSS”), by and through undersigned counsel and in accordance with the

  applicable Federal Rules of Civil Procedures and Local Rules of this Court including Rule 56 of

  the Federal Rules of Civil Procedures, hereby moves for summary judgment in its favor and over

  and against Plaintiff on the basis that there are no genuine issues of material fact and that

  Defendant is entitled to summary judgment as a matter of law, and in furtherance thereof

  Defendant states:

                                         I. INTRODUCTION

         Plaintiff alleges that on or about March 16, 2012, she was on the premises of a DD’s

  Discount store located at 21401 Northwest 2nd Avenue, Miami, Florida when she “slipped and

  fell" on “loose plastic” located on the floor.1 Exhibit A, Plaintiff's deposition transcript. Plaintiff

  claims that she walked by an area at the end of the “home section” and fell on the alleged loose

  plastic near the rug merchandise. The ROSS employee assigned to the “home section,” Bianca


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             Second Amended Complaint ¶ 9. [D.E. 17].
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  Deler, testified that she inspected the subject area approximately ten minutes prior to the incident

  and did not observe the alleged loose plastic or any other hazardous condition on the floor.

  Exhibit B, deposition transcript of Bianca Deler. Furthermore, there was an additional ROSS

  employee, Charles Lewis, who coincidentally was in the subject area assisting a customer

  approximately ten to fifteen minutes before the incident. Mr. Lewis testified that he inspected the

  floor area approximately ten to fifteen minutes before the incident, including correcting and

  remedying the hazardous placement of certain rugs that were hanging off the shelf and onto the

  floor, and he did not observe the loose plastic or any other hazardous condition on the floor

  following his remedial work in the subject area. Exhibit C, deposition transcript of Charles

  Lewis.

           Even assuming the alleged loose plastic existed and/or caused Plaintiff’s fall, which this

  Defendant adamantly denies, the hazardous condition (Plaintiff really could not identify exactly

  what type of loose plastic was on the floor either in her Second Amended Complaint or during

  her deposition testimony) arrived on the floor at some point following Mr. Lewis and Ms.

  Deler’s inspection of the subject floor area; this time period would have been a maximum of ten

  minutes according to Ms. Deler’s testimony. Conversely, Plaintiff testified that she does not

  know when the alleged loose plastic arrived on the floor, how long it had been on the floor, how

  it arrived on the floor, or how long it had been since a ROSS employee inspected the subject area

  prior to the incident.

           Ten minutes is not sufficient time for a store such as retailer ROSS to remedy an alleged

  transitory foreign substance on the floor even assuming in the first instance that it indeed existed.

  In short, summary judgment should be granted for ROSS because, assuming Plaintiff's testimony

  is 100% accurate (which ROSS denies), ten minutes is still an insufficient amount of time to find

  a retailer negligent under Florida law. There is no negligence by a retailer for failing to remedy a



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  transitory foreign substance on the floor within ten minutes of it occurring. Most cases require at

  least fifteen to twenty minutes, minimum, for a retailer to be held negligent for failing to remedy

  a transitory foreign substance on a floor.

         The main argument here which justifies as a matter of law summary judgment in favor of

  ROSS is that accepting the testimony of Ms. Deler and Plaintiff as true, ten minutes is not an

  unreasonable amount of time and is insufficient to state a viable claim of negligence against a

  retailer. Moreover, Plaintiff cannot satisfy Florida's new premises statute, Section 768.055.

  Plaintiff cannot establish by any of her own testimony how long the alleged hazardous condition

  had been on the floor, when it arrived, how it arrived, how ROSS was negligent in failing to

  remedy it, or any other facts about the alleged foreign substance as required by Section 768.055.

  There is simply no evidence of negligence by ROSS.

                      II. CONCISE STATEMENT OF MATERIAL FACTS

     1. Plaintiff alleges that on or about March 16, 2012, she was on the premises of a DD’s

  Discount store located at 21401 Northwest 2nd Avenue, Miami, Florida when she fell on loose

  plastic located on the floor.

     2. Plaintiff claims that she walked by an area at the end of the “home section” and fell on

  the loose plastic near the rug merchandise.

     3. The ROSS employee assigned to the “home section,” Bianca Deler, testified that she

  inspected the subject area approximately ten minutes prior to the incident and did not observe the

  alleged loose plastic or any other hazardous condition on the floor.

                 ROSS Employee Bianca Deler’s Testimony

                 Q: So you don't know one way or the other whether or not there
                 was something on the floor or not?

                 A: Or wasn't, no. It probably wasn't because I had just passed
                 there, so it probably wasn't.



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              Q: When you say you just passed there, when had you just passed
              there?

              A: Probably I'd say ten -- ten minutes.

              Q: And what makes you say that?

              A: Because it's my area, so I'm sure I did.
              Exhibit B, deposition of Bianca Deler, pg 21, ln 3-14.

              Q: Okay. And would you normally walk around that area if --

              A: Yes.

              Q: -- if you were not going to be on break?

              A: Yeah.

              Q: How often?
              Exhibit B, deposition of Bianca Deler, pg 22, ln 19-25.

              A: Probably every -- I could give you every ten minutes.

              Q: And what would make it be every ten minutes?

              A: What would make it be every ten minutes?

              Q: Yes.

              A: Cause I'm in charge of that section, so I would just walk it no
              matter what.
              Exhibit B, deposition of Bianca Deler, pg 23, ln 1-9.

              Q: How many minutes does it take you to walk that area?

              A: Probably like two minutes.

              Q: Probably about two minutes. So you work from -- a shift from
              3:00 p.m. to 11:00 p.m., and you think you walked through that
              entire area –
              Exhibit B, deposition of Bianca Deler, pg 23, ln 19-25.

              A: In ten minutes -- I mean, two minutes, I'm just saying walking
              it, or actually what?

              Q: Inspecting the ground, you think you do that six times an hour
              or so?



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              A: Six times, probably. I wouldn't say six. Maybe six, yeah.
              Exhibit B, deposition of Bianca Deler, pg 24, ln 1-7.

              Q: Do you actually sign off on anything that says that you've
              walked around every ten minutes?

              A: No.

              Q: If you do an inspection and you find something on the floor, do
              you note that you found something on the floor or you just clean it
              up?

              MR. GARCIA: Form.

              A: Just clean it up.
              Exhibit B, deposition of Bianca Deler, pg 27, ln 6-15.

              Q: Okay. And you feel that every day that you are at work, that
              you walk around the area you're assigned to every ten minutes
              without fail to look for things on the floor?

              MR. GARCIA: Form.

              A: I think so.
              Exhibit B, deposition of Bianca Deler, pg 28, ln 6-11.

              Q: Not your employer necessarily, but DD's Discounts has told us
              all employees are instructed to inspect the floor for hazardous
              conditions and remedy any hazardous conditions. Have you ever
              been told that before?

              A: Yes.

              Q: Was that the policy of the store on March 16, 2012?

              A: Yes.

              Q: And the term employees, on March 16, 2012 who would the
              employees be that are supposed to inspect the floor?

              A: Every employee. The sales floor, cashier, even managers.
              Exhibit B, deposition of Bianca Deler, pg 35, ln 10-25.

              Q: Prior to Ms. Hill's fall on March 16, 2012, do you recall picking
              up anything on any of your inspections from the floor?

              A: I don't remember that.



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              Q: Don't remember. Have you ever conducted an inspection when
              you walked through an area at DD's and there was something on
              the floor and you missed it and somebody had to come and tell you
              that you should have picked something up or you should have seen
              it?

              A: No.

              Q: No, have you ever yourself done an inspection and then gone
              back a little while later and thought that maybe you had missed
              something previously?

              A: I didn't miss it, they probably put it on the floor after I passed it.

              Q: Right, but my question is more tailored to you never saw
              something later and thought I missed this before?

              A: No, no.
              Exhibit B, deposition of Bianca Deler, pg 48, ln 3-25.

              BY MR. GARCIA:

              Q: As far as you know, this incident happened near where the rugs
              are placed on shelves?

              A: Yes.

              Q: And these are big rugs -- or you can tell me how big the rugs
              are, if you know.

              A: They are taller than all of us in here.

              Q. That's your area?

              A. Yes.

              Q: And you walk that at least every ten minutes?

              A: Yes.

              Q: And you didn't see anything on the day of Ms. Hill's fall in that
              particular walkway?

              A: No.

              Q: Is there any plastic on those shelves that hold those rugs and
              other items?



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                A: No.

                Q: What's that section of the store called? What is it?

                A. Home.
                Exhibit B, deposition of Bianca Deler, pg 66, ln 16, - pg 67, ln 13.

                Q: Isn't it fair that that walkway is being walked by an employee,
                to your knowledge, about every two or three minutes,if not sooner
                or quicker?

                A: Yeah.

                Q: So it's constantly being walked and looked -- the floor is being
                looked at almost constantly by fellow employees, if not yourself?

                A. Yes.
                Exhibit B, deposition of Bianca Deler, pg 68, ln 16-25.

                Q: And on the worst case scenario, you walk it and inspect it every
                ten minutes?

                A: Yes.

                Q: Is that true?

                A: True.

                Q: Do you have any knowledge of knowing about anything being
                on the floor in terms of plastic, whether it's a hanger, or any of
                these plastic items that you see in these pictures, being on the floor
                prior to Ms. Hill's fall?

                A: No.

                Q: If you were to have seen it, what would you have done, any of
                these types of items or any other type of plastic?

                A: Pick it up.
                Exhibit B, deposition of Bianca Deler, pg 69, ln 1-16.

     4. Furthermore, there was an additional ROSS employee, Charles Lewis, who

  coincidentally was in the subject area assisting a customer approximately ten to fifteen minutes

  before the incident. Mr. Lewis testified that he inspected the floor area ten to fifteen minutes

  prior to the incident, including correcting and remedying the hazardous placement of certain rugs


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  that were hanging off the shelf and onto the floor, and he did not observe the loose plastic or any

  other hazardous condition on the floor following his remedial work in the subject area.

                 ROSS Employee Charles Lewis’ Testimony

                 Q: Well, but that's after she fell. Before you knew she fell, when
                 was the last time you had been in that area and inspected the floor?

                 A: Okay. About ten, 15 minutes before.
                 Exhibit C, deposition of Charles Lewis, pg 39, ln 4-8.

                 Q: You walked past it or through it?

                 A: I walked past it.

                 Q: And do you remember specifically looking at the area where
                 she fell?

                 A: Yes, sir.

                 Q: Or you just happened to look near it?

                 A: Yes, sir, I do. I looked at the area […] So, in essence, I walked
                 directly past the end cap shelf that Ms. Hill had fell by. Directly
                 past it.
                 Exhibit C, deposition of Charles Lewis, pg 40, ln 13-20, pg 41, ln
                 1-2.

                 Q: Did you walk the entire rug aisle or just the portion toward the
                 top where you entered it?

                 A: I walked -- when you say walk the entire rug aisle, the section
                 right in there that you are pointing at, it would be a slender section
                 where a lot of rugs were placed in one aisle on one side and some
                 on the other.

                 Q: Okay. Where around here did you see Ms. Hill on the floor?

                 A: Right in here.

                 Q: Right in here.

                 A: Along the end part of the aisle.

                 Q: And that's where part of the area where you had been talking
                 with that customer?



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                 A: Yes. Part of the area where I had been talking to the customer
                 and the customer placed the rug on the floor, which led into me
                 looking around the floor in every area for a potential safety hazard.
                 And the customer lifted the rug off the floor, and as they lifted the
                 rug off the floor, once again, I searched the whole floor and moved
                 back some rugs, and a couple of fixtures, observed the floor, seeing
                 no safety hazards, and continued walking my regular path.
                 Exhibit C, deposition of Charles Lewis, pg 46, ln 10-25, pg 47, ln
                 1-12.

     5. Ms. Deler is certain the alleged loose plastic was not present on the floor when she

  conducted her inspection approximately ten minutes before the subject incident.

                 ROSS Employee Bianca Deler’s Testimony

                 Q: Okay. And do you think, again, assuming that Ms. Hill stepped
                 on a piece of plastic, slipped on that plastic and fell, you don't
                 think there is any way that it was there when you did your
                 inspection before her fall?

                 A: Of course not.
                 Exhibit B, deposition of Bianca Deler, pg 49, ln 1-6.

     6. Even assuming the alleged loose plastic existed and/or caused Plaintiff’s fall, which this

  Defendant adamantly denies, the hazardous condition arrived on the floor at some point

  following Mr. Lewis and Ms. Deler’s inspection of the subject floor area; this time period would

  have been a maximum of ten minutes according to Ms. Deler’s testimony. Exhibit B, deposition

  of Bianca Deler, pg 49, ln 1-6.

     7. Plaintiff testified that she does not know when the alleged loose plastic arrived on the

  floor, how long it had been on the floor, how it arrived on the floor, or how long it had been

  since a Ross employee inspected the subject area prior to the incident.

                 Plaintiff's Testimony

                 Q: With respect to the policies that DD's has for store maintenance,
                 you don't know anything about that, right?

                 A: No.




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              Q: You don't know anything about how often employees have to
              walk certain aisles, correct?

              A: No.

              Q: You don't know anything about how often employees have to
              clean, meaning, with a broom or with their hands items from the
              floor in terms of the schedule, you don't know anything about that,
              correct?

              A: No.

              Q: You don't know anything about when the store opens and when
              it closes, correct?

              A: No.

              Q: You don't know anything about where employees are assigned
              in different departments of the store, correct?

              A: No.

              Q: You don't know how often the manager or the loss prevention
              officer have to walk around the store's perimeter and in between
              certain aisles, correct?

              A: No.
              Exhibit A, deposition of Plaintiff, pg 34, ln 5-25, pg 57, ln 1-2.

              Q: Now, when you're walking in those aisles, regardless of which
              one it is, you don't know or have any knowledge of which that
              aisle was last inspected or cleaned by an employee in relation to
              when you were walking on it, correct?

              A: No.

              Q: You don't know when -- if-- even the aisle that you eventually
              fell on -- and we're going to get to that just in a few minutes -- you
              don't know when that specific aisle was last inspected or cleaned,
              right?

              A: No.

              Q: In relation to when you fell, you don't have any knowledge
              about that, correct?

              A: No.
              Exhibit A, deposition of Plaintiff, pg 59, ln 11-24.


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              Q: Okay. Here, in this case -- and we're going to talk about this -
              you say you fell because of a lose piece of plastic, like a clear
              piece of plastic, correct?

              A: Yes.

              Q: You don't know when that plastic arrived to the floor in relation
              to when you claimed you fell, correct?

              A: No, I don't.

              Q: You don't know how it got there, correct?

              A: No.
              Exhibit A, deposition of Plaintiff, pg 60, ln 1-10.

              Q: Okay. You said initially - in the first wave of answers, you said,
              "I don't know how long the plastic was on the floor." That's
              correct, right, before you fell, correct?

              A: Yes.

              Q: "I am not sure how plastic got on the floor or where if came
              from," Correct?

              A: Yes.

              Q: So, you don't know if it came, like, from another customer a
              few seconds or a few minutes before you walked by there, correct?

              A: I don't know.

              Q: Or you -- or how it got there at all, it could have just come from
              -- who knows where -- you don't know how it got there, right?

              A: No.
              Exhibit A, deposition of Plaintiff, pg 61, ln 11-25, pg 62, ln 1.

              Q: In fact, with respect to even other items that would potentially
              be on the floor, you don't know how they got there either, correct?

              A: No.

              Q: Or how long they had been on the floor, regardless of what they
              are or where in the store, correct?

              A: No.


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              Q: Okay. All right. You don't know, the aisle that you eventually
              fell on, you don't know who cleans that in respect to which
              employee has a duty to clean that or inspect it, correct?

              A: No.

              Q: Or when they're supposed to do that in relation to when you fell
              or their schedule on cleaning and inspecting that aisle, correct?

              A: No.

              Q: You don't know, in relation to when you fell, when the last time
              was that somebody walked by that same area that you fell to look
              at it in terms of employee, correct?

              A: No.
              Exhibit A, deposition of Plaintiff, pg 62, ln 1-23.

              Q: And then you wrote, "Defendant permitted plastic to lie on its
              floor and failed to work." And I asked you before, you didn't have
              any knowledge of how the plastic got there or when it was there or
              how it got there in relation to when you fell, right?

              A: Right, correct.

              Q: So, you can't really write "permitted" – the word "permitted" is
              what you used, That means that we left it there on purpose. You
              don't have any knowledge that that actually happened, right?

              A: No.

              Q: So, if another customer went by there a minute before you
              walked by there and it blew off some other merchandise and came
              on the floor -- this clear piece of plastic is what I'm focusing on --
              you don't know if that happened, right?

              A: No.

              Q: That wouldn't have been something we permitted, correct?

              A: Correct.

              Q: Okay. Now, when you say that we failed to warn you, if we
              don't know about something, we can't warn you somebody about it
              and nobody can do that, right? You have to answer the question.

              A: Correct.


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              Q: Okay. All right. Now, the other statement, if you go down, still
              in answer to No. 10, it's like the third - it's the fourth line down on
              your supplemental answers and on your regular answers, it's still
              like the fourth line down. It says, "Defendant failed to timely and
              adequately remove plastic from its floor." Again, when I asked you
              before, you don't know when the plastic got there in relation to
              when you fell, correct?

              A: Correct.

              Q: So, you don't know, when you knew about it, to have an
              opportunity to go and pick it up, right?

              A: Correct.

              Q: So, when you write "failed to timely and adequately," that's not
              exactly correct either or accurate, correct?

              MR. BLUESTEIN: Form.

              A: To - that's wrong. I - I think it would be correct. It --

              Q: (by Mr. Garcia): Do you understand what I'm saying? If you
              said before -- you even said in answers down on the page 10 to 11,
              you don't how the plastic got there or when it got there in relation
              to when you fell?

              A: Correct.

              Q: So, you can't really say in good faith that we failed to timely
              pick it up if we don't know how long it had been there, right?

              MR. BLUESTEIN: Form.

              A: Correct.

              Q: (By Mr. Garcia) Okay. And then you write, “When defendant
              knew or should have known." You don't know what somebody else
              knows or doesn't know, right?

              A: Correct.

              Q: Including DD's, you don't know what DD's knows or doesn't
              know. So, that's not exactly accurate when you write that "when
              you -- or did or should have known something," correct?

              A: Correct.


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              Exhibit A, deposition of Plaintiff, pg 67, ln 25, pg 68-69, ln 16.

              Q: Okay. All right. Now, the other one here. The last -- it's the
              sentence before the last, same questions. You write, "Defendant
              did not clean up the plastic in a timely manner," You don't know
              when the plastic was there or how it got there, correct?

              A: No, I don't.

              Q: So, you don't know if we were to have known about it that we
              didn't clean it up in a timely manner. You don't know if that's –
              that’s not exactly accurate, correct?

              MR. BLUES'IEIN: Form.

              A: No No.

              Q: (By Mr. Garcia) Okay. Now, you don't have any knowledge or
              evidence that we knew that the plastic was there and didn't pick it
              up, correct?

              A: No.
              Exhibit A, deposition of Plaintiff, pg 70, ln 1-16.

              Q: Okay. And again, in answer to 25, yon actually admit you don't
              know how long the plastic was on the floor before you fell,
              correct?

              A: Correct.

              Q: And you can't recall exactly where you were looking at, at each
              interval of time before you fell, correct?

              A: Yes.

              Q: Or at the specific locations before you fell, correct?

              A: Correct.

              Q: And you're not sure how the plastic got on the floor, correct?

              A: Correct.

              Q: Or where it came from, correct?

              A: Correct.
              Exhibit A, deposition of Plaintiff, pg 162, ln 5-20.



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                                    II. MEMORANDUM OF LAW

          A.      Summary Judgment Standards

          Summary judgment will only be granted where there is no dispute as to material facts

   such that the resolution of the case is solely dependent upon the applicable law. Specifically,

   pursuant to the Federal Rules of Civil Procedure, a motion for summary judgment should only be

   granted "if the pleadings, depositions, answers to interrogatories, admissions on file, together

   with the affidavits, if any, show that there is no genuine issue as to any material fact and that the

   moving party is entitled judgment as a matter of law." Fed. R. Civ. P. 56(C); See Celotex Corp.

   v. Catrett, 477 U.S. 317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-248,

   106 S. Ct. 2505, 2509-2510 (1986). However, an issue of fact is deemed "material" only if it

   "might affect the outcome of the suit under governing law." Anderson, 477 U.S. at 248, 106 S.

   Ct. at 2510; See Allen v. Tyson Foods, Inc., 121 F. 3d 642, 646 (11th Cir. 1997). A material

   issue of fact is "genuine" if the record taken as a whole could lead a reasonable trier-of-fact to

   find for the nonmoving party. See Allen, supra.

          The party moving for summary judgment initially bears the burden of establishing the

   absence of a genuine issue as to any material fact. See Celotex Corp., 477 U.S. at 322-323, 106

   S. Ct. at 2552-2553; Adickes v. S.H. Kress & Co., 398 U.S. 144, 157, 90 S. Ct. 1598, 1608

   (1970). When a motion for summary judgment is filed and supported by the movant, the

   procedural rules require the non-moving party to set forth facts demonstrating that genuine issues

   of material fact remain for trial. See Matsushita Electric Industrial Co., Ltd. v. Zenith Radio

   Corp., 475 U.S. 574, 586-587, 106 S. Ct. 1348, 1355-1356 (1986).

          In this case there exists no bona fide dispute of any genuine material facts and summary

   judgment is therefore appropriate. More specifically, summary judgment is warranted because

   there is no admissible evidence of any notice [either actual or constructive] by ROSS of any



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   hazardous condition or loose plastic on the subject floor area which ROSS should have

   remedied and Plaintiff has failed to meet her burden under Florida's new premises statute,

   Section 768.0755, Florida's Transitory Foreign Substance Statute. "The failure of proof

   concerning an essential element of a non-moving party's case necessarily renders all other facts

   immaterial and requires a court to grant a motion for summary judgment." Espinoza Ugaz v. Am.

   Airlines, Inc., 576 F. Supp. 2d 1354, 1359 (S.D. Fla. 2008)(emphasis supplied).

          B.      Basic Premises Law

          Under Florida law “the duty of a landowner to a business invitee is to maintain the

   premises in a reasonably safe condition and to warn the invitee of latent perils which are known

   or should be known to the owner but which are not known to the invitee or which, by the

   exercise of due care could not be known to him.” Crawford v. Miller, 542 So. 2d 1050, 1051

   (Fla. 3rd DCA 1989); See Espinoza Ugaz v. Am. Airlines, Inc., 576 F. Supp. 2d 1354, 1367-1368

   (S.D. Fla. 2008)("To show a breach of the duty to protect, a plaintiff must show that a defendant

   failed to maintain its property in a reasonably safe condition, or that it failed to warn the plaintiff

   of a concealed peril of which it either knew or should have known and which could not have

   been discovered by the plaintiff through the exercise of ordinary care. Regarding the warning

   requirement, a defendant must give timely notice of latent or concealed perils which are known

   or should be known. However, even if a condition qualifies as dangerous under the standard, the

   plaintiff still has to show actual or constructive notice that the defendant knew or should have

   known of it. The plaintiff bears the burden of proving that the defendant was negligent, and to

   that end, the plaintiff must generally prove that the owner of the premises had actual or

   constructive notice of the dangerous condition"); See Aventura Mall Venture v. Olson, 561 So.

   2d 319, 320 (Fla. 3rd DCA 1990)(same).




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          Here, there is no evidence of any actual or constructive notice of any dangerous condition

   with the subject floor area, including no evidence that Defendant knew or should have known

   about the alleged loose plastic condition. In this regard, this case is akin to Delgado v.

   Laundromax, Inc., 65 So. 3d 1087 (Fla. 3rd DCA 2011) where a claimant stated she slipped and

   fell on what she thought must have been water, but there was no evidence demonstrating actual

   or constructive notice. The Court held:

          "Laundromax has shown that under the applicable law it did not have either actual
          or constructive notice of the spill, and Delgado failed to present any evidence that
          Landromax employed a negligent mode of operation that led to her injury.
          Consequently, there are no facts upon which a jury could conclude that
          Laundromax acted negligently by failing to exercise reasonable care in the
          maintenance, inspection, or repair of its business premises. Accordingly, we
          conclude that the trial court correctly found that Laundromax was entitled to
          judgment as a matter of law." Id at 1091.

          C.      Ross Did Not Breach Its Duty To Maintain The Premises; Ten Minutes Is
                  Not Negligence

          The record is also devoid of any evidence that Defendant failed to use reasonable care in

   maintaining the subject premises in a reasonably safe condition. Under Florida law, a landowner

   is only required to exercise ordinary care in maintaining its premises. Emmons v. Baptist Hosp.,

   478 So. 2d 440, 442 (Fla. 1st DCA 1985)(citing Hylazewski v. Wet 'N Wild, Inc., 432 So. 2d

   1371, 1372 (Fla. 5th DCA 1983)). “Perfection of conduct is humanly impossible, and the law

   does not exact an unreasonable amount of care from anyone. The degree of care required is

   ordinary and reasonable care.” Emmons, 478 So. 2d at 443 (citing 38 Fla Jur 2nd, Negligence, §

   20; Cassel v. Price, 396 So. 2d 258 at 265). A landowner is not required to exercise control over

   a business invitee or the premises “so as to be an insurer of his safety.” Emmons, 478 So. 2d at

   442 (citing Warner v. Florida Jai Alai, Inc., 221 So. 2d 777 (Fla. 4th DCA 1969); Harvey v.

   Bryant, 238 So. 2d 462 (Fla. 1st DCA 1970); Partelow v. Edgar, 219 So. 2d 72 (Fla. 4th DCA

   1969))(emphasis original); see also St. Joesph’s Hosp. v. Cowart, 891 So. 2d 1039 (Fla. 2d DCA



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   1995); Haynes v. Lloyd, 533 So. 2d 944, 946 (Fla. 5th DCA 1988)(“An owner of real property is

   not an insurer of the safety of persons on the property, nor is the owner strictly liable, or liable

   per se without fault, for injuries resulting from dangerous conditions on owned property.”). The

   complained of loose plastic on the floor could not have existed for more than ten minutes. In

   addition, there is no record evidence establishing Plaintiff’s claims that Defendant failed to use

   ordinary care in maintaining its premises or had any notice about any hazardous loose plastic

   condition. As such, summary judgment should be granted in favor of Defendant.

          Florida law is clear that ten minutes of time or less to remedy a floor condition, as

   testified by Ms. Deler, is insufficient as a matter of law to charge a defendant with negligence.

   See Winn Dixie Stores, Inc. v. Williams, 264 So. 2d 862, 864 (Fla. 3rd DCA 1972)(period of time

   the substance remained on the floor, at least fifteen to twenty minutes, to be sufficient for

   defendants to be charged with knowledge of the condition and a reasonable time in which to

   correct it; and the established slip and fall rule in Florida is that if a dangerous condition exists

   on the floor in an area open to the public, the owner or occupant of the property will not be held

   liable for ensuing injuries if the record fails to show how the condition was created, the length of

   time the condition existed before the accident or whether the store or some other agency was

   responsible for the condition)(emphasis supplied); See Little v. Publix Supermarkets, Inc., 234

   So. 2d 132, 134 (Fla. 4th DCA 1970(same - need at least fifteen to twenty minutes of time to

   charge defendant with knowledge); See Publix Super Markets, Inc. v. Schmidt, 509 So. 2d 977

   (Fla. 4th DCA 1987)(no proof that substance (which was never discovered) had been on the floor

   long enough to constitute constructive notice).

          Indeed, in Gaidymowicz v. Winn-Dixie Stores, 371 So. 2d 212 (Fla. 3rd DCA 1979), the

   court noted that the dangerous condition on the floor must exist for a sufficient length of time to

   charge the defendant owner with constructive knowledge and held that a little over a minute of



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   actual notice is insufficient. Id. at 213-214. The Court held that AWinn-Dixie did not have

   sufficient opportunity to correct the dangerous condition and, therefore, could not be liable on

   the basis of actual notice@. Id. The court further found that Mrs. Gaidymowicz failed to present

   sufficient evidence as to the length of time the liquid was on the floor to charge Winn-Dixie with

   constructive knowledge of the condition, and reasonable time to correct it. The evidence showed

   that the store manager had been down the aisle only five minutes before the customer's fall, and

   there was nothing there at that time. Five minutes was not deemed sufficient time to correct

   the dangerous condition. Id. The Gaidymowicz reasoning applies in full force in this case.

          Here, Plaintiff clearly stated under oath that she does not know how long the loose plastic

   was located on the floor and Ms. Deler testified that she inspected the subject floor area ten

   minutes prior to the incident and the loose plastic was not on the floor. These facts warrant

   summary judgment for ROSS as a matter of law. Ten minutes of time of an alleged failure to

   remedy a floor simply does not constitute negligence under Florida premises law.

          D.      Plaintiff Fails To Satisfy Her Burden Under Florida Statue Section 768.0755

          In July of 2010 the Florida Legislature passed a new premises liability statute for falls

   caused by transitory or foreign substances, specifically Section 768.0755. The statute applies

   herein because Plaintiff is alleging a transitory foreign substance in the form of loose plastic was

   on the floor and caused her fall. Florida Statute Section 768.0755 provides as follows:

                  768.0755. Premises liability for transitory foreign substances in a
                  business establishment.—(1) If a person slips and falls on a
                  transitory foreign substance in a business establishment, the
                  injured person must prove that the business establishment had
                  actual or constructive knowledge of the dangerous condition and
                  should have taken action to remedy it. Constructive knowledge
                  may be proven by circumstantial evidence showing that:

                  (a) The dangerous condition existed for such a length of time that,
                  in the exercise of ordinary care, the business establishment should
                  have known of the condition; or



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                  (b) The condition occurred with regularity and was therefore
                  foreseeable.

                  (2) This section does not affect any common-law duty of care
                  owed by a person or entity in possession or control of a business
                  premises.

          This statute places the burden of proof on Plaintiff to prove that the business proprietor or

   operator had actual or constructive knowledge of the dangerous condition causing the alleged

   slip and fall. The Plaintiff must prove that the business establishment had actual or constructive

   knowledge of the dangerous condition and should have taken action to remedy it. Constructive

   knowledge can be proven by circumstantial evidence showing that the dangerous condition

   existed for such a length of time that in the exercise of ordinary care the business establishment

   should have known of the condition or alternatively that the condition occurred with regularity

   and was therefore foreseeable. Here, Plaintiff totally fails to provide any evidence of actual

   notice by ROSS. Similarly, Plaintiff totally fails to provide any evidence of constructive

   knowledge of any transitory substance on the floor. Because Plaintiff fails to satisfy Florida's

   new premises liability statute, Section 768.0755, summary judgment must be granted as a matter

   of law in favor of Ross.

                                         III. CONCLUSION

          For all the foregoing reasons and based upon the cited authorities including applicable

   premises and Florida and Federal law, Defendant respectfully requests that this Motion be

   Granted; that summary judgment be entered in its favor and over and against Plaintiff; that

   Plaintiff take nothing by this case and that this case be closed and dismissed with prejudice; and

   for such further and other relief as the Court deems just and proper.




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                                    Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 8, 2013, the foregoing document was electronically filed with

   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

   this day on all counsel of record on the attached Service List in the manner specified, either via

   transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

   manner for those counsel or parties who are not authorized to receive electronically Notices of

   Electronic Filing.

                                                     s/ Michael Alexander Garcia
                                                     Michael Alexander Garcia




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                                      SERVICE LIST

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